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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

                                               )
DRAFTKINGS INC.,                               )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )       No. 1:24-cv-10299-JEK
                                               )
MICHAEL HERMALYN,                              )
                                               )
       Defendant.                              )
                                               )

                         ORDER OF PRELIMINARY INJUNCTION

KOBICK, J.

       After considering the motion of plaintiff DraftKings, Inc., ECF 72, the opposition of

defendant Michael Hermalyn, ECF 101, and the reply brief, ECF 114, and after holding hearings

on April 2, 2024 and April 16, 2024, and for the reasons stated today in the Court’s Memorandum

and Order granting that motion, the Court now enters this Order, which shall remain in effect until

further Order of this Court.

       IT IS HEREBY ORDERED, pursuant to Federal Rule of Civil Procedure 65, that defendant

Michael Hermalyn is enjoined as follows:

       1.      Hermalyn is enjoined from: (i) using any Confidential Information (as
               defined in the “Nonsolicitation, Nondisclosure & Assignment of Inventions
               Agreement” dated August 31, 2020, ECF 1-1)) for any purpose that is not
               authorized by the Company (as defined in the Nonsolicitation,
               Nondisclosure & Assignment of Inventions Agreement); (ii) disclosing any
               Confidential Information to any person or entity, except as authorized by
               the Company in connection with Hermalyn’s job duties; or (iii) removing
               or transferring Confidential Information from the Company’s premises or
               systems except as authorized by the Company;

       2.      Hermalyn is also enjoined for a period of twelve months starting on
               February 1, 2024, from directly or indirectly either for himself or for any
               other person, partnership, legal entity, or enterprise: (i) soliciting, in person
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               or through supervision or control of others, an employee, advisor,
               consultant or contractor of the Company (as defined in the Nonsolicitation,
               Nondisclosure & Assignment of Inventions Agreement) for the purpose of
               inducing or encouraging the employee, advisor, consultant or contractor to
               leave his or her relationship with the Company or to change an existing
               business relationship to the detriment of the Company; (ii) hiring away an
               employee, advisor, consultant or contractor of the Company; or (iii) helping
               another person or entity hire away a Company employee, advisor,
               consultant or contractor;

       3.      Hermalyn is further enjoined for a period of twelve months starting on
               February 1, 2024, anywhere within the United States of America, acting
               individually, or as an owner, shareholder, partner, employee, contractor,
               agent or otherwise (other than on behalf of Company (as defined in the
               “Noncompetition Covenant” dated August 16, 2023, ECF 1-2, at 11-17))
               from: (1) providing services to a Competing Business (as defined in the
               Noncompetition Covenant, and to include Fanatics, Inc. and Fanatics, Inc.’s
               subsidiaries, affiliates, and joint ventures) that relate to any aspect of the
               Business of the Company (as defined in the Noncompetition Covenant) for
               which Hermalyn performed services or received Confidential Information
               at any time during the six-month period prior to February 1, 2024; or
               (2) committing a Threatened Breach (as defined in the Noncompetition
               Covenant) of the obligation set forth in the immediately preceding clause;
               and

       4.      Hermalyn is additionally enjoined from moving, destroying, deleting,
               altering, or otherwise disposing of any files, documents, and digital media
               that contain any Confidential Information (as defined in the Nonsolicitation,
               Nondisclosure & Assignment of Inventions Agreement) and/or that are
               derived from such information.

       Pursuant to Fed. R. Civ. P. 65(c), DraftKings shall post an additional security bond in the

amount of $150,000 as soon as reasonably practicable after entry of this Order but in any event no

later than close of business on Tuesday, May 7, 2024. See ECF 117, at 2.

       SO ORDERED.

                                                     /s/ Julia E. Kobick
                                                     Julia E. Kobick
Dated: April 30, 2024                                United States District Judge
